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                                 IN THE UNITED STATES DISTRICT COURT
                                     FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,                                    )
                                                             )                8:16CR102
                          Plaintiff,                         )
                                                             )
        vs.                                                  )                 ORDER
                                                             )
GIOVANNY NAVA,                                               )
                                                             )
                          Defendant.                         )


        This matter is before the court on the motion for an extension of time by defendant Giovanny Nava
(Nava) (Filing No. 40). Nava seeks additional time in which to file pretrial motions in accordance with the
progression order. Nava's counsel represents that the government's counsel has no objection to the motion.
Upon consideration, the motion will be granted.


        IT IS ORDERED:

        Defendant Nava's motion for an extension of time (Filing No. 40) is granted. Nava is given until on or

before April 29, 2016, in which to file pretrial motions pursuant to the progression order. The ends of justice
have been served by granting such motion and outweigh the interests of the public and the defendant in a
speedy trial. The additional time arising as a result of the granting of the motion, i.e., the time between April

14, 2016, and April 29, 2016, shall be deemed excludable time in any computation of time under the
requirement of the Speedy Trial Act for the reason defendant's counsel requires additional time to adequately
prepare the case, taking into consideration due diligence of counsel, and the novelty and complexity of this case.
The failure to grant additional time might result in a miscarriage of justice. 18 U.S.C. § 3161(h)(7)(A) & (B).


        DATED this 14th day of April, 2016.
                                                             BY THE COURT:
                                                             s/ Thomas D. Thalken
                                                             United States Magistrate Judge
